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 5   JAMES RUTHERFORD, and
     THE ASSOCIATION 4 EQUAL ACCESS
 6

 7
                              UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA
 9

10
     JAMES RUTHERFORD, an                     Case No. '18CV2663 DMS KSC
11
     individual, THE ASSOCIATION 4            Complaint For Damages And
12   EQUAL ACCESS;                            Injunctive Relief For:
13              Plaintiffs,
                                              1. VIOLATIONS OF THE
14
     v.                                          AMERICANS WITH DISABILITIES
15                                               ACT OF 1990, 42 U.S.C. §12181 et
16
     DOMINICK’S SANDWICHES, a                    seq.
     business of unknown form; PEPPER
17   TREE VILLAGE, LLC, a California          2. VIOLATIONS OF THE UNRUH
     Limited Liability Company; and              CIVIL RIGHTS ACT, CALIFORNIA
18
     DOES 1-10, inclusive,                       CIVIL CODE § 51 et seq.
19
                Defendants.
20

21

22
           Plaintiffs, JAMES RUTHERFORD, and THE ASSOCIATION 4 EQUAL
23

24   ACCESS (“Plaintiffs”), complain of Defendants, DOMINICK’S SANDWICHES,
25   a business of unknown form; PEPPER TREE VILLAGE, LLC, a California
26
     Limited Liability Company; and DOES 1-10, inclusive; and DOES 1-10
27
     (“Defendants”) and alleges as follows:
28

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                                        COMPLAINT
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 1                                                      PARTIES:
 2   1.      Plaintiff JAMES RUTHERFORD suffers from spinal stenosis aggravated by
 3   a herniated disc. Plaintiff also suffers from an arthritic condition in his thumbs,
 4   which interferes with his ability to grab, twist, and turn objects. As a result of his
 5   physical impairments, Plaintiff is substantially limited in performing one or more
 6   major life activities, including but not limited to: walking, standing, sleeping,
 7   ambulating, ability to grab, twist, and turn objects such as door handles and/or
 8   sitting and uses a mobility device, including when necessary, a rollator walker or
 9   wheelchair. With such disabilities, Plaintiff qualifies as a member of a protected
10   class under the Americans with Disabilities Act (“ADA”), 42 U.S.C. §12102(2)
11   and the regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.
12   At the time of Plaintiff’s visits to Defendants’ facility and prior to instituting this
13   action, Plaintiff suffered from a “qualified disability” under the ADA, including
14   those set forth in this paragraph. Plaintiff is also the holder of a Disabled Person
15   Parking Placard.
16   2.      Plaintiff JAMES RUTHERFORD personally visited the Defendants’ facility
17   but was denied full and equal access and full and equal enjoyment of the facilities,
18   services, goods, and amenities within Defendants’ facility, even though he would
19   be classified as a “bona fide patron.” Specifically, JAMES RUTHERFORD
20   desired to and did visit the Subject Property with complete accessibilities as a
21   consumer, but experienced difficulty doing so due to Defendants' failure to provide
22   access to the parking lot and access to various amenities within the facility as
23   alleged herein.1
24   3.      Plaintiff ASSOCIATION 4 EQUAL ACCESS ("A4EA") is an association
25   with the purpose of providing ADA related resources and information to disabled
26   individuals and to ensure businesses increase accessibility at their facilities.
27   1
       Plaintiff Rutherford is also a tester in this litigation and a consumer who wishes to access Defendants' goods and
28   services. Plaintiff was deterred from patronizing Business on these particular occasions, and continues to be deterred,
     but intends to return for the dual purpose of availing himself of the goods and services offered to the public and to
     ensure that Defendants cease evading its responsibilities under federal and state law.
                                                              2
                                                        COMPLAINT
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 1   4.    Plaintiff JAMES RUTHERFORD is a member of A4EA.
 2   5.    Plaintiff brings this action acting as a “private attorney general” as permitted
 3   under the American with Disabilities Act of 1990 (“ADA”)                  to privatize
 4   enforcement of the ADA without the American tax payer(s) bearing the financial
 5   tax burden for such action.
 6   6.    Plaintiffs are informed and believe, and based thereon allege, Defendant
 7   PEPPER TREE VILLAGE, LLC, owned the Subject Property located at 1672 S.
 8   Mission Road Suite A, Fallbrook, CA 92028 ("Subject Property"), where
 9   Dominick's Sandwiches (“Business”) is located, in August, 2018, and continues to
10   do so currently.
11   7.    Plaintiffs are informed and believe and based thereon alleges, Defendant
12   DOMINICK’S SANDWICHES, owned, operated and controlled the Business,
13   located on the Subject Property in August, 2018, and continues to do so currently.
14   8.    Plaintiffs do not know the true names of Defendants, their business
15   capacities, their ownership connection to the subject property and business, or their
16   relative responsibilities in causing the access violations herein complained of, and
17   alleges a joint venture and common enterprise by all such Defendants. Plaintiffs
18   are informed and believe that each of the Defendants herein, including Does 1
19   through 10, inclusive, is responsible in some capacity for the events herein alleged,
20   or is a necessary party for obtaining appropriate relief. Plaintiffs will seek leave to
21   amend when the true names, capacities, connections, and responsibilities of the
22   Defendants and Does 1 through 10, inclusive, are ascertained.
23                             JURISDICTION AND VENUE
24   9.    This Court has subject matter jurisdiction over this action pursuant to
25   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
26   with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ("ADA").
27   10.   This court has supplemental jurisdiction over Plaintiff’s non-federal claims
28   pursuant to 28 U.S.C. § 1367, the Unruh Civil Rights Act (the “UCRA”), because
                                                3
                                           COMPLAINT
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 1   Plaintiff’s UCRA claims are so related to Plaintiff’s federal ADA claims in that
 2   they have the same nucleus of operative facts and arising out of the same
 3   transactions, they form part of the same case or controversy under Article III of the
 4   United States Constitution.
 5   11.      Venue is proper in this court pursuant to 28 U.S.C. §1391 because the real
 6   property which is the subject of this action is located in this district and because
 7   Plaintiffs' Claims arose in this district.
 8                                         FACTUAL ALLEGATIONS
 9   12.      On or about August 12, 2018, JAMES RUTHERFORD visited the Business
10   located on the Subject Property to avail himself of the goods and services offered
11   to the public. Specifically, Plaintiff desired to visit the Business as a consumer, but
12   experienced difficulty due Defendants' failure to provide accessible parking, access
13   ramp/curb-cut and restroom for disabled persons.
14   13.      The Business is a facility open to the public, a place of public
15   accommodation, and a business establishment.
16   14.      Parking spaces, access aisles, routes and restrooms are one of the facilities,
17   privileges and advantages reserved by Defendants to persons at the property
18   serving the Business.
19   15.      Unfortunately, although parking spaces, access aisle, routes, access curb
20   ramps and restrooms were of the facilities reserved for patrons, there were no
21   parking spaces, access aisle, route, ramp or restrooms available for persons with
22   disabilities that complied with the Americans with Disability Act Accessibility
23   Guidelines ("ADAAG”) in August, 2018.
24   16.      The Subject Property and Business lack architectural barrier free facilities
25   for patrons with disabilities, causing Plaintiff to encounter the following barrier at
26   the Business and Subject Property: the curb ramp at the accessible parking space
27   projects into the parking access aisle in violation of Section 406.52.
28   2
      Curb ramps and the flared sides of curb ramps shall be located so that they do not project into vehicular traffic lanes,
     parking spaces, or parking access aisles.
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                                                         COMPLAINT
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 1   17.     The Subject Property and Business also lack accessible restrooms;
 2   specifically, (1) there is a device affixed to the wall directly above the rear grab
 3   bar3; (2) the water supply and drain pipes under the sink are not insulated or
 4   otherwise configured to protect against contact as required by Section 606.5; (3)
 5   the flush controls are not located on the open side of the water closet in violation of
 6   Section 604.6; and (4) the restroom door has an old style doorknob which requires
 7   tight grasping and turning4.
 8   18.     These barriers represent unreasonable risks, including but not limited to, trip,
 9   fall and/or tip-over hazards when attempting to access the Business and Subject
10   Property.
11   19.     Plaintiffs are informed and believe, and based there on allege, currently,
12   there are no compliant, accessible parking spaces access aisle(s), access ramp/curb-
13   cut or restrooms designed and reserved for persons with disabilities serving the
14   Business.
15   20.     Plaintiffs are informed and believe, and based there on allege, Defendants
16   have no policy or plan in place to ensure that the accessible parking spaces, access
17   aisles/ramps/curb-cuts or restrooms reserved for persons with disabilities were
18   available and/or compliant prior to August, 2018.
19   21.     Plaintiffs are informed and believe, and based there on allege, Defendants
20   currently have no policy or plan in place to ensure that the accessible parking
21   spaces, access aisle/ramps/curb cuts or restrooms reserved for persons with
22   disabilities are available and/or remain compliant.
23   22.     Plaintiff, JAMES RUTHERFORD personally encountered these barriers
24   which represent a trip, fall and/or tip-over hazards when attempting to access the
25   Business and Subject Property. This inaccessible condition denied this Plaintiff
26   full and equal access and caused him difficulty, humiliation and frustration.
27   3
       The space between the grab bar and projecting objects above shall be 12 inches (305 mm) minimum per Section
     609.3
28   4
       Handles, pulls, latches, locks, and other operable parts on doors and gates shall comply with 309.4 per Section
     404.2.7.
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                                                        COMPLAINT
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 1   23.     Members of the A4EA with mobility disabilities who at times are dependent
 2   upon a wheelchair or other mobility devices, have a keen interest in whether public
 3   accommodations have architectural barriers that impede full accessibility to those
 4   accommodations by individuals with mobility impairments.
 5   24.     Plaintiff JAMES RUTHERFORD encountered these barriers on August 12,
 6   2018 and has been deterred from patronizing the Business, Subject Property and its
 7   accommodations; however he intends to return to the Business and Subject
 8   Property for the dual purpose of availing himself of the goods and services offered
 9   to the public and to ensure that the Business and Subject Property ceases evading
10   its responsibilities under federal and state law.
11   25.     Plaintiff JAMES RUTHERFORD is and has been deterred from returning
12   and patronizing the Business and accompanying Subject Real Property because of
13   his knowledge of the illegal barriers that exist5. Members of the A4EA will also be
14   deterred from patronizing the Business and the accompanying Subject Property for
15   the same reasons alleged herein. Plaintiffs will, nonetheless, return to assess
16   ongoing compliance with the ADA and will return to patronize the business as a
17   customer once the barriers are removed.
18   26.     Defendants have failed to maintain in working and useable conditions those
19   features required to provide ready access to persons with disabilities.
20   27.     The violations identified above are easily removed without much difficulty
21   or expense. They are the types of barriers identified by the Department of Justice
22   as presumably readily achievable to remove and, in fact, these barriers are readily
23   achievable to remove. Moreover, there are numerous alternative accommodations
24   that could be made to provide a greater level of access if complete removal were
25   not achievable.
26

27   5
       Plaintiff, Rutherford and his disabled, wheelchair bound fiancé are being deterred from patronizing the Business and
28   its accommodations, but intend to return to the Business for the dual purpose of availing themselves of the goods and
     services offered to the public and to ensure that the Business ceases evading their responsibilities under federal and
     state laws.
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                                                       COMPLAINT
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 1   28.      Subject to the reservation of rights to assert further violations of law after a
 2   site inspection found infra at paragraphs 29 and 30, Plaintiffs are informed and
 3   believe there are additional ADA violations which affect JAMES RUTHERFORD
 4   and A4EA members.
 5   29.      Given the obvious and blatant violation alleged hereinabove, Plaintiffs
 6   allege, on information and belief, that there are other violations and barriers in the
 7   site that relate to his disability. Plaintiffs seek to have all barriers related to their
 8   disabilities remedied. Plaintiffs will amend the complaint, to provide proper notice
 9   regarding the scope of this lawsuit, once they conduct a site inspection.6
10   30.      Given the obvious and blatant violation alleged hereinabove, Plaintiffs
11   allege, on information and belief, that the failure to remove these barriers was
12   intentional because: (1) these particular barriers are intuitive and obvious; (2)
13   Defendants exercised control and dominion over the conditions at this location,
14   and therefore, (3) the lack of accessible facilities was not an accident because had
15   the Defendants intended any other configuration, they had the means and ability to
16   make the change. Without injunctive relief, plaintiffs will continue to be unable to
17   fully access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
18                                                    FIRST CLAIM
19       VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
20                                              42 U.S.C. § 12181 et seq.
21   31.      Plaintiffs re-allege and incorporate by reference all paragraphs alleged above
22   and each and every other paragraph in this Complaint necessary or helpful to state
23   this claim as though fully set forth herein.
24   32.      Under the ADA, it is an act of discrimination to fail to ensure that the
25   privileges, advantages, accommodations, facilities, goods, and services of any
26   place of public accommodation are offered on a full and equal basis by anyone
27
     6
28    Please be on notice that the Plaintiffs seek to have all barriers related to his disability remedied. See Doran v. 7-11,
     524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff encounters one barrier at a site, he can sue to have all
     barriers that relate to her disability removed regardless of whether he personally encountered them)
                                                                 7
                                                          COMPLAINT
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 1   who owns, leases, or operates a place of public accommodation. See 42 U.S.C. §
 2   12182(a).
 3   33.   Discrimination is defined, inter alia, as follows:
 4                 a.    A failure to make reasonable modifications in policies,
 5                       practices, or procedures, when such modifications are necessary
 6                       to afford goods, services, facilities, privileges, advantages, or
 7                       accommodations to individuals with disabilities, unless the
 8                       accommodation would work a fundamental alteration of those
 9                       services and facilities. 42 U.S.C. §12182(b)(2)(A)(ii).
10                 b.    A failure to remove architectural barriers which such removal is
11                       readily achievable. 42 U.S.C. §12182(b)(2)(A)(iv). Barriers
12                       are defined by reference to the ADAAG, found at 28 C.F.R.,
13                       Part 36, Appendix "D".
14                 c.    A failure to make alterations in such a manner that, to the
15                       maximum extent feasible, the altered portions of the facility are
16                       readily accessible to and usable by individuals with disabilities,
17                       including individuals who use wheelchairs, or to ensure that, to
18                       the maximum extent feasible, the path of travel to the altered
19                       area and the bathrooms, telephones, and drinking fountains
20                       serving the area, are readily accessible to and usable by
21                       individuals with disabilities. 42 U.S.C. §12183(a)(2).
22   34.   Any business that provides parking spaces must provide accessible parking
23   spaces.     1991 Standards §4.1.2(5).   2010 Standards § 208.       Under the 1991
24   Standards, parking spaces and access aisles must be level with surface slopes not
25   exceeding 1:50 (2.0%) in all directions. 1991 Standards §4.6.2.
26   35.   In addition to lacking accessible disabled parking, appropriate signage,
27   access routes and failing to provide compliant restrooms to the Business; the
28   failure to ensure that accessible facilities were available and ready to be used by
                                               8
                                          COMPLAINT
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 1   Plaintiff is a violation of law.
 2   36.    As set forth hereinabove, Defendants' failure to provide accessible parking
 3   and access route(s) are violations of the law.
 4   37.    A public accommodation must maintain in operable working condition those
 5   features of its facilities and equipment that are required to be readily accessible to
 6   and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 7   38.    As alleged herein, the failure to ensure that accessible facilities were
 8   available and ready to be used by Plaintiff(s) is a violation of law.
 9   39.    Given its location and options, Plaintiffs will continue to desire to patronize
10   the Subject Business but have been and will continue to be discriminated against
11   due to lack of accessible facilities and, therefore, seek injunctive relief to remove
12   the barriers.
13                                      SECOND CLAIM
14   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL
15                                      CODE § 51 et seq.
16   40.    Plaintiffs re-allege and incorporate by reference all paragraphs alleged above
17   and each and every other paragraph in this Complaint necessary or helpful to state
18   this claim as though fully set forth herein.
19   41.    California Civil Code §51 et seq., the UCRA, guarantees equal access for
20   people with disabilities to the accommodations, advantages, facilities, privileges,
21   and services of all business establishments of any kind whatsoever. Defendants are
22   systematically violating the UCRA, Civil Code §51 et seq.
23   42.    Because Defendants violated Plaintiffs' rights under the ADA, they also
24   violated the UCRA and are liable for damages. (Civ. Code §51(f),52(a).) These
25   violations are ongoing.
26   43.    Plaintiffs are informed and believe, and based thereon allege, Defendants'
27   actions constitute intentional discrimination against Plaintiffs on the basis of a
28   disability, in violation of the UCRA, Civil Code §51 et seq., because Defendants
                                                9
                                           COMPLAINT
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 1   have been previously put on actual notice that its premises is inaccessible to
 2   Plaintiffs.   Despite this knowledge, Defendants maintain their premises in an
 3   inaccessible form, and Defendants have failed to take actions to correct these
 4   barriers.
 5   44.    Because the violation of the UCRA resulted in difficult, discomfort or
 6   embarrassment for the individual Plaintiff, Defendants are also responsible for
 7   statutory damages, i.e. a civil penalty. (Civ. Code § 55.56(a)-(c).)
 8                                         PRAYER
 9    WHEREFORE, Plaintiffs pray that this court award damages provide relief as
10   follows:
11          1.     A preliminary and permanent injunction enjoining Defendants from
12   further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
13   51 et seq. with respect to its operation of the Subject Business associated the
14   Subject real Property; Note: Plaintiffs are not invoking section 55 of the
15   California Civil Code and is not seeking injunctive relief under the Disable
16   Persons Act at all.
17          2.     An award of actual damages and statutory damages of not less than
18   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
19          3.     An additional award of $4,000.00 as deterrence damages for each
20   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
21   LEXIS 150740 (USDC Cal, E.D. 2016);
22          4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
23   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
24

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26   ///
27   ///
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                                           COMPLAINT
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 1                               DEMAND FOR JURY TRIAL
 2         Plaintiffs hereby respectfully request a trial by jury on all appropriate issues
 3   raised in this Complaint.
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 5
     Dated: November 21, 2018       LAW OFFICES OF BABAK HASHEMI, ESQ.
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 7                                    By:     /s/ Babak Hashemi
                                             Babak Hashemi, Esq.
 8                                           Attorney for Plaintiffs
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